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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------X
 MIGUEL ANGEL ROMANO PERALTA,                                        COMPLAINT
 JAZIEL MARTINEZ TEHUITZIL, JOSUE
 MARTINEZ             ROMANO,             SILVESTRE
 CABRERA ROMANO, individually and on                        COLLECTIVE ACTION UNDER
 behalf of others similarly situated,                            29 U.S.C. § 216(b)

                       Plaintiffs,
                                                                        ECF Case
                  -against-

 P&H 49 CORP. (D/B/A BAGELS ON THE
 SQUARE), HYUN PAK, and MARCOS
 VELAZQUEZ,

                               Defendants.
 -------------------------------------------------------X

        Plaintiffs Miguel Angel Romano Peralta, Jaziel Martinez Tehuitzil, Josue Martinez

Romano, and Silvestre Cabrera Romano, (collectively, “Plaintiffs”) individually and on behalf of

others similarly situated, by and through their attorneys, Michael Faillace & Associates, P.C., upon

their knowledge and belief, and as against P&H 49 Corp. (d/b/a Bagels on the Square), (“Defendant

Corporation”), Hyun Pak and Marcos Velazquez, (“Individual Defendants”), (collectively,

“Defendants”), allege as follows:

                                          NATURE OF ACTION

        1.     Plaintiffs are former employees of Defendants P&H 49 Corp. (d/b/a Bagels on the

Square), Hyun Pak, and Marcos Velazquez.
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       2.     Defendants own, operate, or control a bagel restaurant/deli, located at 7 Carmine St,

New York, NY 10014 under the name “Bagels on the Square”.

       3.     Upon information and belief, individual Defendants Hyun Pak and Marcos

Velazquez, serve or served as owners, managers, principals, or agents of Defendant Corporation

and, through this corporate entity, operate or operated the restaurant/deli as a joint or unified

enterprise.

       4.     Plaintiffs were employed as delivery workers, deli workers, and as a cashier at the

deli located at 7 Carmine St, New York, N.Y. 10014.

       5.     Plaintiffs Miguel Angel Romano Peralta, Josue Martinez Romano and Silvestre

Cabrera Romano were all ostensibly employed as delivery workers. However, they were required

to spend a considerable part of their work day performing non-tipped duties, including but not

limited to preparing juices and fruit salads, bringing up sodas and other drinks, accommodating

the sodas, cleaning the bathrooms, windows and refrigerators, cutting vegetables, sweeping

and mopping, throwing out the garbage, twisting and tying up cardboard boxes,

washing dishes and carrying down and stocking deliveries in the basement (hereafter the “non-

tipped duties”).

       6.     At all times relevant to this Complaint, Plaintiffs worked for Defendants in excess of

40 hours per week, without appropriate minimum wage and overtime compensation for the hours

that they worked.

       7.     Rather, Defendants failed to maintain accurate recordkeeping of the hours worked

and failed to pay Plaintiffs appropriately for any hours worked, either at the straight rate of pay or

for any additional overtime premium.




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        8.     Defendants employed and accounted for Plaintiffs Miguel Angel Romano Peralta,

Josue Martinez Romano and Silvestre Cabrera Romano as delivery workers in their payroll, but in

actuality their duties required a significant amount of time spent performing the non-tipped duties

alleged above.

        9.     Regardless, at all relevant times, Defendants paid Plaintiffs Miguel Angel Romano

Peralta, Josue Martinez Romano and Silvestre Cabrera Romano at a rate that was lower than the

required tip-credit rate.

        10.    However, under both the FLSA and NYLL, Defendants were not entitled to take a

tip credit because Plaintiff’s Miguel Angel Romano Peralta, Josue Martinez Romano and Silvestre

Cabrera Romano non-tipped duties exceeded 20% of each workday, or 2 hours per day, whichever

is less in each day. 12 N.Y. C.R.R. §146.

        11.    Upon information and belief, Defendants employed the policy and practice of

disguising Plaintiff’s Miguel Angel Romano Peralta, Josue Martinez Romano and Silvestre

Cabrera Romano actual duties in payroll records by designating them as delivery workers instead

of as non-tipped employees. This allowed Defendants to avoid paying Plaintiffs at the minimum

wage rate and enabled them to pay them at the tip-credit rate (which they still failed to do).

        12.    Defendants’ conduct extended beyond Plaintiffs to all other similarly situated

employees.

        13.    At all times relevant to this Complaint, Defendants maintained a policy and practice

of requiring Plaintiffs and other employees to work in excess of forty (40) hours per week without

providing the minimum wage and overtime compensation required by federal and state law and

regulations.




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       14.    Plaintiffs now bring this action on behalf of themselves, and other similarly situated

individuals, for unpaid minimum and overtime wages pursuant to the Fair Labor Standards Act of

1938, 29 U.S.C. § 201 et seq. (“FLSA”), and for violations of the N.Y. Labor Law §§ 190 et seq.

and 650 et seq. (the “NYLL”), including applicable liquidated damages, interest, attorneys’ fees

and costs.

       15.    Plaintiffs seek certification of this action as a collective action on behalf of

themselves, individually, and all other similarly situated employees and former employees of

Defendants pursuant to 29 U.S.C. § 216(b).

                                 JURISDICTION AND VENUE

       16.    This Court has subject matter jurisdiction under 28 U.S.C. § 1331 (federal question)

and the FLSA, and supplemental jurisdiction over Plaintiff’s state law claims under 28 U.S.C. §

1367(a).

       17.    Venue is proper in this district under 28 U.S.C. § 1391(b) and (c) because all, or a

substantial portion of, the events or omissions giving rise to the claims occurred in this district,

Defendants maintain their corporate headquarters and offices within this district, and Defendants

operate a bagel restaurant/deli located in this district. Further, Plaintiffs were employed by

Defendants in this district.

                                            PARTIES

                                              Plaintiff

       18.    Plaintiff Miguel Angel Romano Peralta (“Plaintiff Romano” or “Mr. Romano”) is an

adult individual residing in Kings County, New York.

       19.    Plaintiff Romano was employed by Defendants at Bagels on the Square from

approximately November 2015 until on or about April 5, 2019.



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         20.   Plaintiff Jaziel Martinez Tehuitzil (“Plaintiff Tehuitzil” or “Mr. Tehuitzil”) is an adult

individual residing in Hudson County, New Jersey.

         21.   Plaintiff Tehuitzil was employed by Defendants at Bagels on the Square from

approximately September 2011 until on or about July 26, 2019.

         22.   Plaintiff Josue Martinez Romano (“Plaintiff Martinez” or “Mr. Martinez”) is an adult

individual residing in Kings County, New York.

         23.   Plaintiff Martinez was employed by Defendants at Bagels on the Square from

approximately June 2012 until on or about July 28, 2019.

         24.   Plaintiff Silvestre Cabrera Romano (“Plaintiff Cabrera” or “Mr. Cabrera”) is an adult

individual residing in Kings County, New York.

         25.   Plaintiff Cabrera was employed by Defendants at Bagels on the Square from

approximately February 2013 until on or about July 30, 2019.



                                              Defendants

         26.   At all relevant times, Defendants owned, operated, or controlled a bagel

restaurant/deli, located at 7 Carmine St, New York, NY 10014 under the name “Bagels on the

Square”.

         27.   Upon information and belief, P&H 49 Corp. (d/b/a Bagels on the Square) is a

domestic corporation organized and existing under the laws of the State of New York. Upon

information and belief, it maintains its principal place of business at 7 Carmine St, New York, NY

10014.

         28.   Defendant Hyun Pak is an individual engaging (or who was engaged) in business in

this judicial district during the relevant time period. Defendant Hyun Pak is sued individually in



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his capacity as owner, officer and/or agent of Defendant Corporation. Defendant Hyun Pak

possesses operational control over Defendant Corporation, an ownership interest in Defendant

Corporation, and controls significant functions of Defendant Corporation. He determines the

wages and compensation of the employees of Defendants, including Plaintiffs, establishes the

schedules of the employees, maintains employee records, and has the authority to hire and fire

employees.

       29.   Defendant Marcos Velazquez is an individual engaging (or who was engaged) in

business in this judicial district during the relevant time period. Defendant Marcos Velazquez is

sued individually in his capacity as a manager of Defendant Corporation. Defendant Marcos

Velazquez possesses operational control over Defendant Corporation and controls significant

functions of Defendant Corporation. He determines the wages and compensation of the employees

of Defendants, including Plaintiffs, establishes the schedules of the employees, maintains

employee records, and has the authority to hire and fire employees.

                                 FACTUAL ALLEGATIONS

                             Defendants Constitute Joint Employers

       30.   Defendants operate a bagel restaurant/deli located in the West Village section of

Manhattan.

       31.   Individual Defendants, Hyun Pak and Marcos Velazquez, possess operational control

over Defendant Corporation, possess ownership interests in Defendant Corporation, or control

significant functions of Defendant Corporation.

       32.   Defendants are associated and joint employers, act in the interest of each other with

respect to employees, pay employees by the same method, and share control over the employees.




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          33.    Each Defendant possessed substantial control over Plaintiff’s (and other similarly

situated employees’) working conditions, and over the policies and practices with respect to the

employment and compensation of Plaintiffs, and all similarly situated individuals, referred to

herein.

          34.    Defendants jointly employed Plaintiffs (and all similarly situated employees) and are

Plaintiff’s (and all similarly situated employees’) employers within the meaning of 29 U.S.C. 201

et seq. and the NYLL.

          35.    In the alternative, Defendants constitute a single employer of Plaintiffs and/or

similarly situated individuals.

          36.    Upon information and belief, Individual Defendant Hyun Pak operates Defendant

Corporation as either an alter ego of himself and/or fails to operate Defendant Corporation as an

entity legally separate and apart from himself, by among other things:

                a) failing to adhere to the corporate formalities necessary to operate Defendant

                   Corporation as a Corporation,

                b) defectively forming or maintaining the corporate entity of Defendant Corporation,

                   by, amongst other things, failing to hold annual meetings or maintaining

                   appropriate corporate records,

                c) transferring assets and debts freely as between all Defendants,

                d) operating Defendant Corporation for his own benefit as the sole or majority

                   shareholder,

                e) operating Defendant Corporation for his own benefit and maintaining control over

                   this corporation as a closed Corporation,

                f) intermingling assets and debts of his own with Defendant Corporation,



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                g) diminishing and/or transferring assets of Defendant Corporation to avoid full

                   liability as necessary to protect his own interests, and

                h) Other actions evincing a failure to adhere to the corporate form.

          37.    At all relevant times, Defendants were Plaintiff’s employers within the meaning of

the FLSA and New York Labor Law.

          38.    Defendants had the power to hire and fire Plaintiffs, controlled the terms and

conditions of employment, and determined the rate and method of any compensation in exchange

for Plaintiff’s services.

          39.    In each year from 2013 to 2019, Defendants, both separately and jointly, had a gross

annual volume of sales of not less than $500,000 (exclusive of excise taxes at the retail level that

are separately stated).

          40.    In addition, upon information and belief, Defendants and/or their enterprise were

directly engaged in interstate commerce. As an example, numerous items that were used in the deli

on a daily basis are goods produced outside of the State of New York.

                                           Individual Plaintiffs

          41.    Plaintiffs are former employees of Defendants who were employed as deli workers,

cashiers, and ostensibly as delivery workers. However, the delivery workers spent over 20% of

each shift performing the non-tipped duties described above.

          42.    Plaintiffs seek to represent a class of similarly situated individuals under 29 U.S.C.

216(b).

                                 Plaintiff Miguel Angel Romano Peralta

          43.    Plaintiff Romano was employed by Defendants from approximately November 2015

until on or about April 5, 2019.



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       44.   Defendants ostensibly employed Plaintiff Romano as a delivery worker.

       45.   However, Plaintiff Romano was also required to spend a significant portion of his

work day performing the non-tipped duties described above.

       46.   Although Plaintiff Romano ostensibly was employed as a delivery worker, he spent

over 20% of each day performing non-tipped work throughout his employment with Defendants.

       47.   Plaintiff Romano regularly handled goods in interstate commerce, such as food and

other supplies produced outside the State of New York.

       48.   Plaintiff Romano’s work duties required neither discretion nor independent

judgment.

       49.   From approximately November 2015 until on or about November 2017, Plaintiff

Romano worked from approximately 9:00 a.m. until on or about 7:00 p.m., six days a week

(typically 60 hours per week).

       50.   From approximately January 2018 until on or about January 2019, Plaintiff Romano

worked from approximately 7:00 a.m. until on or about 1:00 p.m., five days a week (typically 30

hours per week).

       51.   From approximately January 2019 until on or about April 2019, Plaintiff Romano

worked from approximately 9:00 a.m. until on or about 3:00 p.m., Saturdays and Sundays and

from approximately 8:00 a.m. until on or about 1:00 p.m., Mondays, Tuesdays and Wednesdays

(typically 27 hours per week).

       52.   Throughout his employment, Defendants paid Plaintiff Romano his wages in cash.

       53.   From approximately November 2015 until on or about November 2017, Defendants

paid Plaintiff Romano a fixed salary of $260 per week.




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       54.   From approximately January 2018 until on or about January 2019, Defendants paid

Plaintiff Romano $9.80 per hour.

       55.   From approximately January 2019 until on or about April 2019, Defendants paid

Plaintiff Romano $11.00 per hour.

       56.   Defendants never granted Plaintiff Romano any breaks or meal periods of any kind.

       57.   Plaintiff Romano was never notified by Defendants that his tips were being included

as an offset for wages.

       58.   Defendants did not account for these tips in any daily or weekly accounting of

Plaintiff Romano’s wages.

       59.   On a number of occasions, Defendants required Plaintiff Romano to sign a document,

the contents of which he was not allowed to review in detail.

       60.   No notification, either in the form of posted notices or other means, was ever given

to Plaintiff Romano regarding overtime and wages under the FLSA and NYLL.

       61.   Defendants did not provide Plaintiff Romano an accurate statement of wages, as

required by NYLL 195(3).

      62.    Defendants did not give any notice to Plaintiff Romano, in English and in Spanish

(Plaintiff Romano’s primary language), of his rate of pay, employer’s regular pay day, and such

other information as required by NYLL §195(1).

      63.    Defendants required Plaintiff Romano to purchase “tools of the trade” with his own

funds—including two bicycles.

                                   Plaintiff Jaziel Martinez Tehuitzil

      64.    Plaintiff Tehuitzil was employed by Defendants from approximately September 2011

until on or about July 26, 2019.



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       65.    Defendants ostensibly employed Plaintiff Tehuitzil as a deli worker and occasional

cashier.

       66.    Plaintiff Tehuitzil regularly handled goods in interstate commerce, such as food and

other supplies produced outside the State of New York.

       67.    Plaintiff Tehuitzil’s work duties required neither discretion nor independent

judgment.

       68.    From approximately October 2013 until on or about December 2016, Plaintiff

Tehuitzil worked from approximately 7:00 a.m. until on or about 5:00 p.m., six days a week

(typically 60 hours per week).

       69.    From approximately February 2017 until on or about December 2018, Plaintiff

Tehuitzil worked from approximately 6:00 a.m. until on or about 4:00 p.m., six days a week

(typically 60 hours per week).

       70.    From approximately January 2019 until on or about July 26, 2019, Plaintiff Tehuitzil

worked from approximately 6:00 a.m. until on or about 1:00 p.m., Mondays, Tuesdays Thursdays

and Fridays, four days a week, and from 7am to 2pm on Saturdays and Sundays (typically 42 hours

per week).

       71.    Throughout his employment, Defendants paid Plaintiff Tehuitzil his wages in cash.

       72.    From approximately October 2013 until on or about December 2014, Defendants paid

Plaintiff Tehuitzil $9.00 per hour.

       73.    From approximately January 2015 until on or about December 2015, Defendants paid

Plaintiff Tehuitzil $10.50 per hour.

       74.    From approximately January 2016 until on or about December 2016, Defendants paid

Plaintiff Tehuitzil $11.00 per hour.



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       75.   From approximately February 2017 until on or about December 2017, Defendants

paid Plaintiff Tehuitzil $11.00 per hour.

       76.   From approximately January 2018 until on or about December 2018, Defendants paid

Plaintiff Tehuitzil $13.00 per hour.

       77.   From approximately January 2019 until on or about July 2019, Defendants paid

Plaintiff Tehuitzil $15.00 per hour and $20.00 for his overtime hours.

       78.   Defendants never granted Plaintiff Tehuitzil any breaks or meal periods of any kind.

       79.   Prior to early 2014, Plaintiff Tehuitzil was not required to keep track of his time, nor

to his knowledge did the Defendants utilize any time tracking device, such as a time clock or punch

cards, that accurately reflected his actual hours worked.

       80.   On a number of occasions, Defendants required Plaintiff Tehuitzil to sign a

document, the contents of which he was not allowed to review in detail.

       81.   No notification, either in the form of posted notices or other means, was ever given

to Plaintiff Tehuitzil regarding overtime and wages under the FLSA and NYLL.

       82.   Defendants did not provide Plaintiff Tehuitzil an accurate statement of wages, as

required by NYLL 195(3).

      83.    Defendants did not give any notice to Plaintiff Tehuitzil, in English and in Spanish

(Plaintiff Tehuitzil’s primary language), of his rate of pay, employer’s regular pay day, and such

other information as required by NYLL §195(1).

                                 Plaintiff Josue Martinez Romano

      84.    Plaintiff Martinez was employed by Defendants from approximately June 2012 until

on or about July 28, 2019.

       85.   Defendants ostensibly employed Plaintiff Martinez as a delivery worker.



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       86.   However, Plaintiff Martinez was also required to spend a significant portion of his

work day performing the non-tipped duties described above.

       87.   Although Plaintiff Martinez ostensibly was employed as a delivery worker, he spent

over 20% of each day performing non-tipped work throughout his employment with Defendants.

       88.   Plaintiff Martinez regularly handled goods in interstate commerce, such as food and

other supplies produced outside the State of New York.

       89.   Plaintiff Martinez’s work duties required neither discretion nor independent

judgment.

       90.   From approximately October 2013 until on or about December 2016, Plaintiff

Martinez worked from approximately 7:00 a.m. until on or about 5:00 p.m., six days a week

(typically 60 hours per week).

       91.   From approximately January 2017 until on or about December 2017, Plaintiff

Martinez worked from approximately 7:00 a.m. until on or about 4:00 p.m., six days a week

(typically 54 hours per week).

       92.   From approximately January 2018 until on or about August 2018, Plaintiff Martinez

worked from approximately 7:00 a.m. until on or about 3:00 p.m. five days a week (typically 40

hours per week).

       93.   From approximately September 2018 until on or about July 2019, Plaintiff Martinez

worked from approximately 8:00 a.m. until on or about 1:00 p.m., 3 days a week and from

approximately 8:00 a.m. to 2:00 p.m. two days a week (typically 27 hours per week).

       94.   Throughout his employment, Defendants paid Plaintiff Martinez his wages in cash.

       95.   From approximately October 2013 until on or about December 2016, Defendants paid

Plaintiff Martinez $4.00 per hour for all of his hours.



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       96.   From approximately January 2017 until on or about December 2017, Defendants paid

Plaintiff Martinez $5.00 per hour and $7.00 for his overtime hours.

       97.   From approximately January 2018 until on or about December 2018, Defendants paid

Plaintiff Martinez $9.80 per hour.

       98.   From approximately January 2019 until on or about July 2019, Defendants paid

Plaintiff Martinez $11.20 per hour.

       99.   Defendants never granted Plaintiff Martinez any breaks or meal periods of any kind.

       100. Plaintiff Martinez was never notified by Defendants that his tips were being included

as an offset for wages.

       101. Defendants did not account for these tips in any daily or weekly accounting of

Plaintiff Martinez’s wages.

       102. Prior to early 2014, Plaintiff Martinez was not required to keep track of his time, nor

to his knowledge did the Defendants utilize any time tracking device, such as a time clock or punch

cards, that accurately reflected his actual hours worked.

       103. On a number of occasions, Defendants required Plaintiff Martinez to sign a

document, the contents of which he was not allowed to review in detail.

       104. No notification, either in the form of posted notices or other means, was ever given

to Plaintiff Martinez regarding overtime and wages under the FLSA and NYLL.

       105. Defendants did not provide Plaintiff Martinez an accurate statement of wages, as

required by NYLL 195(3).

      106.   Defendants did not give any notice to Plaintiff Martinez, in English and in Spanish

(Plaintiff Martinez’s primary language), of his rate of pay, employer’s regular pay day, and such

other information as required by NYLL §195(1).



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      107.    Defendants required Plaintiff Martinez to purchase “tools of the trade” with his own

funds—including three bicycles, brakes, a camera, a helmet, monthly bicycle maintenance and 2

pairs of rain boots.

                               Plaintiff Silvestre Cabrera Romano

      108.    Plaintiff Cabrera was employed by Defendants from approximately Mid-February

2013 until on or about July 30, 2019.

       109. Defendants ostensibly employed Plaintiff Cabrera as a delivery worker.

       110. However, Plaintiff Cabrera was also required to spend a significant portion of his

work day performing the non-tipped duties described above.

       111. Although Plaintiff Cabrera ostensibly was employed as a delivery worker, he spent

over 20% of each day performing non-tipped work throughout his employment with Defendants.

       112. Plaintiff Cabrera regularly handled goods in interstate commerce, such as food and

other supplies produced outside the State of New York.

       113. Plaintiff Cabrera’s work duties required neither discretion nor independent judgment.

       114. From approximately October 2013 until on or about December 2015, Plaintiff

Cabrera worked from approximately 8:00 a.m. until on or about 6:00 p.m., Fridays through

Wednesdays; six days a week (typically 60 hours per week).

        115. From approximately January 2016 until on or about June 2016, Plaintiff Cabrera

worked from approximately 6:00 a.m. until on or about 3:00 p.m., Fridays through Wednesdays

six days a week (typically 54 hours per week).

        116. From approximately July 2016 until on or about December 2017, Plaintiff Cabrera

worked from approximately 6:00 a.m. until on or about 3:00 p.m., Fridays through Tuesdays 5

days a week (typically 45 hours per week).



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       117. From approximately January 2018 until on or about March 2018, Plaintiff Cabrera

worked from approximately 6:00 a.m. until on or about 2:00 p.m., Fridays through Tuesdays 5

days a week (typically 40 hours per week).

       118. From approximately April 2018 until on or about December 2018, Plaintiff Cabrera

worked from approximately 6:00 a.m. until on or about 1:00 p.m., Fridays through Tuesdays 5

days a week (typically 35 hours per week).

       119. From approximately January 2019 until on or about July 30 2019, Plaintiff Cabrera

worked from approximately 6:00 a.m. until on or about 12:00 p.m., Fridays through Tuesdays 5

days a week (typically 30 hours per week).

       120. Throughout his employment, Defendants paid Plaintiff Cabrera his wages in cash.

       121. From approximately October 2013 until on or about June 2016, Defendants paid

Plaintiff Cabrera $4.00 per hour.

       122. From approximately July 2016 until on or about December 2017, Defendants paid

Plaintiff Cabrera $5.00 per hour for his first 40 hours and $7.00 per hour for overtime hours.

       123. From approximately January 2018 until on or about December 2018, Defendants paid

Plaintiff Cabrera $9.80 per hour.

       124. From approximately January 2019 until on or about July 30 2019, Defendants paid

Plaintiff Cabrera $11.20 per hour.

       125. Defendants never granted Plaintiff Cabrera any breaks or meal periods of any kind.

       126. Plaintiff Cabrera was never notified by Defendants that his tips were being included

as an offset for wages.

       127. Defendants did not account for these tips in any daily or weekly accounting of

Plaintiff Cabrera’s wages.



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       128. Prior to early 2014, Plaintiff Cabrera was not required to keep track of his time, nor

to his knowledge did the Defendants utilize any time tracking device, such as a time clock or punch

cards, that accurately reflected his actual hours worked.

       129. On a number of occasions, Defendants required Plaintiff Cabrera to sign a document,

the contents of which he was not allowed to review in detail.

       130. No notification, either in the form of posted notices or other means, was ever given

to Plaintiff Cabrera regarding overtime and wages under the FLSA and NYLL.

       131. Defendants did not provide Plaintiff Cabrera an accurate statement of wages, as

required by NYLL 195(3).

      132.    Defendants did not give any notice to Plaintiff Cabrera, in English and in Spanish

(Plaintiff Cabrera’s primary language), of his rate of pay, employer’s regular pay day, and such

other information as required by NYLL §195(1).

      133.    Defendants required Plaintiff Cabrera to purchase “tools of the trade” with his own

funds—including three bicycles, one electric bicycle, one helmet, and Bicycle maintenance.



                           Defendants’ General Employment Practices

             134.      At all times relevant to this Complaint, Defendants maintained a policy and

     practice of requiring Plaintiffs (and all similarly situated employees) to work in excess of 40

     hours a week without paying them appropriate minimum wage and overtime compensation

     as required by federal and state laws.

             135.      Plaintiffs were victims of Defendants’ common policy and practices which

     violate their rights under the FLSA and New York Labor Law by, inter alia, not paying them

     the wages they were owed for the hours they worked.



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      136.   Defendants’ pay practices resulted in Plaintiffs not receiving payment for all their

hours worked, and resulted in Plaintiffs’ effective rate of pay falling below the required minimum

wage rate.

      137.   Defendants required Plaintiffs Romano, Martinez and Cabrera and all other delivery

workers to perform general non-tipped tasks in addition to their primary duties as delivery workers.

      138.    Plaintiffs Romano, Martinez and Cabrera and all similarly situated employees,

ostensibly were employed as tipped employees by Defendants, although their actual duties

included a significant amount of time spent performing the non-tipped duties outlined above.

      139.   These Plaintiffs’ duties were not incidental to their occupation as tipped workers, but

instead constituted entirely unrelated general deli work with duties, including the non-tipped duties

described above.

      140.   These Plaintiffs and all other tipped workers were paid at a rate that was lower than

the required lower tip-credit rate by Defendants.

      141.   However, under state law, Defendants were not entitled to a tip credit because the

tipped worker’s and these Plaintiff’s non-tipped duties exceeded 20% of each workday (or 2 hours

a day, whichever is less) (12 N.Y.C.R.R. § 146).

      142.   New York State regulations provide that an employee cannot be classified as a tipped

employee on any day in which he or she has been assigned to work in an occupation in which tips

are not customarily received. (12 N.Y.C.R.R. §§137-3.3 and 137-3.4). Similarly, under federal

regulation 29 C.F.R. §531.56(e), an employer may not take a tip credit for any employee time if

that time is devoted to a non-tipped occupation.

      143.   In violation of federal and state law as codified above, Defendants classified these

Plaintiffs and other tipped workers as tipped employees, and paid them at a rate that was lower



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than the required lower tip-credit rate when they should have classified them as non-tipped

employees and paid them at the minimum wage rate.

      144.   Defendants failed to inform Plaintiffs who received tips that Defendants intended to

take a deduction against Plaintiff’s earned wages for tip income, as required by the NYLL before

any deduction may be taken.

      145.   Defendants failed to inform Plaintiffs who received tips, that their tips were being

credited towards the payment of the minimum wage.

      146.   Defendants failed to maintain a record of tips earned by Plaintiffs who worked as

delivery workers for the tips they received.

     Prior to early 2014, Defendants willfully disregarded and purposefully evaded recordkeeping

     requirements of the FLSA and NYLL by failing to maintain accurate and complete

     timesheets and payroll records.

      147.   On a number of occasions, Defendants required Plaintiffs to sign a document the

contents of which they were not allowed to review in detail.

      148.   Defendants paid Plaintiffs their wages in cash.

      149.   Defendants failed to post at the workplace, or otherwise provide to employees, the

required postings or notices to employees regarding the applicable wage and hour requirements of

the FLSA and NYLL.

      150.   Upon information and belief, these practices by Defendants were done willfully to

disguise the actual number of hours Plaintiffs (and similarly situated individuals) worked, and to

avoid paying Plaintiffs properly for their full hours worked.




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      151.   Defendants engaged in their unlawful conduct pursuant to a corporate policy of

minimizing labor costs and denying employees compensation by knowingly violating the FLSA

and NYLL.

      152.   Defendants’ unlawful conduct was intentional, willful, in bad faith, and caused

significant damages to Plaintiffs and other similarly situated former workers.

      153.   Defendants failed to provide Plaintiffs and other employees with accurate wage

statements at the time of their payment of wages, containing: the dates of work covered by that

payment of wages; name of employee; name of employer; address and phone number of employer;

rate or rates of pay and basis thereof, whether paid by the hour, shift, day, week, salary, piece,

commission, or other; gross wages; deductions; allowances, if any, claimed as part of the minimum

wage; net wages; the regular hourly rate or rates of pay; the overtime rate or rates of pay; the

number of regular hours worked; and the number of overtime hours worked, as required by NYLL

§195(3).

      154.   Defendants failed to provide Plaintiffs and other employees, at the time of hiring and

on or before February 1 of each subsequent year, a statement in English and the employees’

primary language, containing: the rate or rates of pay and basis thereof, whether paid by the hour,

shift, day, week, salary, piece, commission, or other; allowances, if any, claimed as part of the

minimum wage, including tip, meal, or lodging allowances; the regular pay day designated by the

employer; the name of the employer; any “doing business as” names used by the employer; the

physical address of the employer's main office or principal place of business, and a mailing address

if different; and the telephone number of the employer, as required by New York Labor Law

§195(1).

                          FLSA COLLECTIVE ACTION CLAIMS



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      155.    Plaintiffs bring their FLSA minimum wage, overtime compensation, and liquidated

damages claims as a collective action pursuant to FLSA Section 16(b), 29 U.S.C. § 216(b), on

behalf of all similarly situated persons (the “FLSA Class members”), i.e., persons who are or were

employed by Defendants or any of them, on or after the date that is three years before the filing of

the complaint in this case (the “FLSA Class Period”).

      156.   At all relevant times, Plaintiffs and other members of the FLSA Class were similarly

situated in that they had substantially similar job requirements and pay provisions, and have been

subject to Defendants’ common practices, policies, programs, procedures, protocols and plans

including willfully failing and refusing to pay them the required minimum wage, overtime pay at

a one and one-half their regular rates for work in excess of forty (40) hours per workweek, and

willfully failing to keep records, as required under the FLSA.

      157.   The claims of Plaintiffs stated herein are similar to those of the other employees.

                                  FIRST CAUSE OF ACTION

         VIOLATION OF THE MINIMUM WAGE PROVISIONS OF THE FLSA

      158.   Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.

      159.   At all times relevant to this action, Defendants were Plaintiff’s employers within the

meaning of the Fair Labor Standards Act, 29 U.S.C. § 203(d).

      160.   Defendants had the power to hire and fire Plaintiffs (and the FLSA Class Members),

controlled the terms and conditions of their employment, and determined the rate and method of

any compensation in exchange for their employment.

      161.   At all times relevant to this action, Defendants were engaged in commerce or in an

industry or activity affecting commerce.




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      162.   Defendants constitute an enterprise within the meaning of the Fair Labor Standards

Act, 29 U.S.C. § 203 (r-s).

       163. Defendants failed to pay Plaintiffs (and the FLSA Class members) at the applicable

minimum hourly rate, in violation of 29 U.S.C. § 206(a).

      164.   Defendants’ failure to pay Plaintiffs (and the FLSA Class members) at the applicable

minimum hourly rate was willful within the meaning of 29 U.S.C. § 255(a).

      165.   Plaintiffs (and the FLSA Class members) were damaged in an amount to be

determined at trial.

                                SECOND CAUSE OF ACTION

             VIOLATION OF THE OVERTIME PROVISIONS OF THE FLSA

      166.   Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.

      167.   Defendants, in violation of 29 U.S.C. § 207(a)(1), failed to pay Plaintiffs (and the

FLSA Class members) overtime compensation at a rate of one and one-half times the regular rate

of pay for each hour worked in excess of forty hours in a work week.

      168.   Defendants’ failure to pay Plaintiffs (and the FLSA Class members), overtime

compensation was willful within the meaning of 29 U.S.C. § 255(a).

      169.   Plaintiffs (and the FLSA Class members) were damaged in an amount to be

determined at trial.

                                 THIRD CAUSE OF ACTION

                VIOLATION OF THE NEW YORK MINIMUM WAGE ACT

      170.   Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.

      171.   At all times relevant to this action, Defendants were Plaintiff’s employers within the

meaning of the N.Y. Lab. Law §§ 2 and 651.



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     172.   Defendants had the power to hire and fire Plaintiffs, controlled the terms and

conditions of his employment, and determined the rates and methods of any compensation in

exchange for his employment.

     173.   Defendants, in violation of NYLL § 652(1) and the supporting regulations of the New

York State Department of Labor, paid Plaintiffs less than the minimum wage.

     174.   Defendants’ failure to pay Plaintiffs the minimum wage was willful within the

meaning of N.Y. Lab. Law § 663.

     175.   Plaintiffs were damaged in an amount to be determined at trial.

                               FOURTH CAUSE OF ACTION

                    VIOLATION OF THE OVERTIME PROVISIONS

                        OF THE NEW YORK STATE LABOR LAW

     176.   Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.

     177.   Defendants, in violation of N.Y. Lab. Law § 190 et seq., and supporting regulations

of the New York State Department of Labor, failed to pay Plaintiffs overtime compensation at

rates of one and one-half times the regular rate of pay for each hour worked in excess of forty

hours in a work week.

     178.   Defendants’ failure to pay Plaintiffs overtime compensation was willful within the

meaning of N.Y. Lab. Law § 663.

     179.   Plaintiffs were damaged in an amount to be determined at trial.

                                FIFTH CAUSE OF ACTION

                VIOLATION OF THE NOTICE AND RECORDKEEPING

                 REQUIREMENTS OF THE NEW YORK LABOR LAW

     180.   Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.



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      181.   Defendants failed to provide Plaintiffs with a written notice, in English and in Spanish

(Plaintiff’s primary language), containing: the rate or rates of pay and basis thereof, whether paid

by the hour, shift, day, week, salary, piece, commission, or other; allowances, if any, claimed as

part of the minimum wage, including tip, meal, or lodging allowances; the regular pay day

designated by the employer; the name of the employer; any “doing business as" names used by the

employer; the physical address of the employer's main office or principal place of business, and a

mailing address if different; and the telephone number of the employer, as required by NYLL

§195(1).

      182.   Defendants are liable to each Plaintiff in the amount of $5,000, together with costs

and attorneys’ fees.

                                  SIXTH CAUSE OF ACTION

                VIOLATION OF THE WAGE STATEMENT PROVISIONS

                             OF THE NEW YORK LABOR LAW

      183.   Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.

      184.   With each payment of wages, Defendants failed to provide Plaintiffs with accurate

statements listing each of the following: the dates of work covered by that payment of wages; name

of employee; name of employer; address and phone number of employer; rate or rates of pay and

basis thereof, whether paid by the hour, shift, day, week, salary, piece, commission, or other; gross

wages; deductions; allowances, if any, claimed as part of the minimum wage; net wages; the

regular hourly rate or rates of pay; the overtime rate or rates of pay; the number of regular hours

worked; and the number of overtime hours worked, as required by NYLL 195(3).

      185.   Defendants are liable to each Plaintiff in the amount of $5,000, together with costs

and attorneys’ fees.



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                                 SEVENTH CAUSE OF ACTION

                             RECOVERY OF EQUIPMENT COSTS

      186.     Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.

      187.     Defendants required Plaintiffs to pay, without reimbursement, the costs and expenses

for purchasing and maintaining equipment and “tools of the trade” required to perform their jobs,

further reducing their wages in violation of the FLSA and NYLL. 29 U.S.C. § 206(a); 29 C.F.R.

§ 531.35; N.Y. Lab. Law §§ 193 and 198-b.

      188.     Plaintiffs were damaged in an amount to be determined at trial.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs respectfully requests that this Court enter judgment against

Defendants by:

        (a)     Designating this action as a collective action and authorizing prompt issuance of

notice pursuant to 29 U.S.C. § 216(b) to all putative class members apprising them of the pendency

of this action, and permitting them to promptly file consents to be Plaintiffs in the FLSA claims in

this action;

        (b)     Declaring that Defendants violated the minimum wage provisions of, and

associated rules and regulations under, the FLSA as to Plaintiffs and the FLSA Class members;

        (c)     Declaring that Defendants violated the overtime wage provisions of, and associated

rules and regulations under, the FLSA as to Plaintiffs and the FLSA Class members;

        (d)     Declaring that Defendants violated the recordkeeping requirements of, and

associated rules and regulations under, the FLSA with respect to Plaintiffs’ and the FLSA Class

members’ compensation, hours, wages, and any deductions or credits taken against wages;




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        (e)     Declaring that Defendants’ violations of the provisions of the FLSA were willful

as to Plaintiffs and the FLSA Class members;

        (f)     Awarding Plaintiffs and the FLSA Class members damages for the amount of

unpaid minimum wage, overtime compensation, and damages for any improper deductions or

credits taken against wages under the FLSA as applicable;

        (g)     Awarding Plaintiffs and the FLSA Class members liquidated damages in an amount

equal to 100% of their damages for the amount of unpaid minimum wage and overtime

compensation, and damages for any improper deductions or credits taken against wages under the

FLSA as applicable pursuant to 29 U.S.C. § 216(b);

        (h)     Declaring that Defendants violated the minimum wage provisions of, and rules and

orders promulgated under, the NYLL as to Plaintiffs;

        (i)     Declaring that Defendants violated the overtime wage provisions of, and rules and

orders promulgated under, the NYLL as to Plaintiffs;

        (j)     Declaring that Defendants violated the notice and recordkeeping requirements of

the NYLL with respect to Plaintiffs’ compensation, hours, wages and any deductions or credits

taken against wages;

        (k)     Declaring that Defendants’ violations of the provisions of the NYLL were willful

as to Plaintiffs;

        (l)     Awarding Plaintiffs damages for the amount of unpaid minimum wage and

overtime compensation, and for any improper deductions or credits taken against wages as

applicable

        (m)     Awarding Plaintiffs damages for Defendants’ violation of the NYLL notice and

recordkeeping provisions, pursuant to NYLL §§198(1-b), 198(1-d);



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       (n)     Awarding Plaintiffs liquidated damages in an amount equal to one hundred percent

(100%) of the total amount of minimum wage and overtime compensation shown to be owed

pursuant to NYLL § 663 as applicable; and liquidated damages pursuant to NYLL § 198(3);

       (o)     Awarding Plaintiffs and the FLSA Class members pre-judgment and post-judgment

interest as applicable;

       (p)      Awarding Plaintiffs and the FLSA Class members the expenses incurred in this

action, including costs and attorneys’ fees;

       (q)     Providing that if any amounts remain unpaid upon the expiration of ninety days

following issuance of judgment, or ninety days after expiration of the time to appeal and no appeal

is then pending, whichever is later, the total amount of judgment shall automatically increase by

fifteen percent, as required by NYLL § 198(4); and

       (r)     All such other and further relief as the Court deems just and proper.

                                         JURY DEMAND

                  Plaintiffs demand a trial by jury on all issues triable by a jury.

Dated: New York, New York
       October 24, 2019

                                                         MICHAEL FAILLACE & ASSOCIATES, P.C.

                                               By:              /s/ Michael Faillace
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          Michael Faillace & Associates,P.C.
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Faillace@employmentcompliance.com



                                                                               April 8,2019

BY HAND




TO:       Clerk of Court,


I hereby consent to join this lawsuit as a party plaintiff.(Yo, por medic de este documento, doy
mi consentimiento para formar parte de la demanda como uno de Ids demandantes.)


Name / Nombre:                             Miguel Angel Romano Peralta
Legal Representative / Abogado:            Michael Faillace & Associ^s.P.C.

Signature / Firma:

Date / Fecha:                                8 de abril de 2019




                                Certified as a minority-owned business in the State ofNew York
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